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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

ADRIANN BORUM, et al.,                        :
                                              :
       Plaintiffs,                            :       Civil Action No.:     16-1723 (RC)
                                              :
       v.                                     :       Re Document Nos.:     151, 153, 154,
                                              :                             156, 157, 190
BRENTWOOD VILLAGE, LLC, et al.,               :                             194, 195
                                              :
       Defendants.                            :

                                          ORDER

   GRANTING IN PART AND DENYING IN PART DEFENDANTS’ MOTION FOR REASONABLE
    ATTORNEYS’ FEES AND COSTS; DENYING PLAINTIFFS’ MOTION FOR REASONABLE
ATTORNEYS’ FEES AND EXPENSES; GRANTING IN PART AND DENYING IN PART DEFENDANTS’
                                 BILL OF COSTS

       For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Defendants’ Motion for Reasonable Attorneys’ Fees and Costs (ECF

No. 151) is GRANTED IN PART AND DENIED IN PART, Plaintiffs’ Motion for Reasonable

Attorneys’ Fees and Expenses (ECF No. 153) is DENIED, and Defendants’ Bill of Cost (ECF

No. 190) is GRANTED IN PART AND DENIED IN PART. Additionally, Plaintiffs’ Motions

to File Under Seal (ECF Nos. 154, 156, 157, 194) and Defendants’ Motion to File Under Seal

(ECF No. 195) are GRANTED.

       SO ORDERED.


Dated: September 4, 2020                                       RUDOLPH CONTRERAS
                                                               United States District Judge
